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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF VIRGINIA
                              Norfolk Division



 THOMAS P. GILFILLAN,

            Plaintiff,

 V.                                            CIVIL ACTION NO. 2:18cv339

 DEBBIE CHEELY and JOHN CHEELY,
 d/b/a FULL THROTTLE MARINE SERVICE,

            Defendants.




                                      ORDER


      This matter comes before the court on             Defendants', Debbie

 Cheely and John Cheely doing business as ''Full Throttle Marine

 Service"    ("Defendants"),        Motion    to   Dismiss    ("Motion")     and

 accompanying Memorandum in Support, filed on August 17, 2018. ECF

 Nos. 13, 14. Plaintiff Thomas P. Gilfillan ("Plaintiff") filed a

 Response   in   Opposition    on    August 31,     2018,    ECF   No. 16,   and

 Defendants filed a Reply on September 6, 2018, ECF No. 17. On

 September 7, 2018, this court referred the Motion to United States

 Magistrate Judge Douglas E. Miller, pursuant to the provisions of

 28 U.S.C. § 636(b)(1)(B) and Federal Rule of Civil Procedure 72(b),

 to conduct hearings, including evidentiary hearings, if necessary,

 and to submit to the undersigned district judge proposed findings

 of fact, if applicable, and recommendations for disposition of the

 Motion. ECF No. 18.
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      A hearing was held on October 9, 2018, and the Magistrate

 Judge filed a Report and Recommendation (^^R&R") on Defendants'

 Motion on October 18, 2018. EOF No. 20. The R&R recommends that

 Defendants' Motion be denied. R&R at 12. The parties were advised

 of their right to file written objections to the findings and

 recommendations     made    by   the    Magistrate   Judge.    Id.   at 12-13.

 Defendants filed Objections on November 1, 2018. EOF No. 21.

      The court, having examined Defendants' Objections to the R&R,

 and having made ^ novo findings with respect thereto, ADOPTS AND

 APPROVES IN FULL the findings and recommendations set forth in the

 R&R of the United States Magistrate Judge, filed on October 18,

 2018.   EOF   No.     20.   Accordingly,     Defendants'      Objections   are

 OVERRULED, and Defendants' Motion to Dismiss is DENIED.

      The Clerk is DIRECTED to send a copy of this Order to counsel

 for all parties.

      IT IS SO ORDERED.
                                                       /S/
                                               Rebecca Beach Smith
                                                    Chief Judge

                                        REBECCA BEACH SMITH
                                        CHIEF JUDGE




 November       2018
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                              NORFOLK, VIRGINIA
                           CLERK US DISTRICT COURT

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